          Exhibit 42




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                                                                                                                                              THE                   UNIVERSITY
                                                                                                                                              of NORTH                                    CAROLINA
                                                                                                                                              at CHAPEL                                       HILL




                                                   Case 1:14-cv-00954-LCB-JLW Document 165-3 Filed 01/18/19 Page 2 of 17                                                                                                                                                                                        UNC0326476
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                                                 WORKGROUP
                                                 MEMBERS
                                                 CO-CONVENORS


                                                 Taffye Benson Clayton, Associate Vice Chancellor
                                                 for Diversity and Multicultural Affairs and Chief Diversity
                                                 Officer and Clinical Professor of Educational Leadership
                                                 Enrique Neblett, Associate Professor of Psychology
                                                 and Neuroscience
                                                 Abigail Panter, Senior Associate Dean for
                                                 Undergraduate Education and Professor of Psychology
                                                 and Neuroscience


                                                 WORKGROUP MEMBERS

                                                 Marco J. Barker
                                                 Paul Bonnici
                                                 Paula D. Borden
                                                 Bruce A. Cairns
                                                 Marcus L. Collins
                                                 Cynthia Demetriou
                                                 Chris Faison
                                                 Michael Highland
                                                 Brian P. Hogan
                                                 Sherick Andre Hughes
                                                 Ion Vincent Outterbridge
                                                 Josmell Perez
                                                 Claudis Polk
                                                 Deborah L. Stroman
                                                 Damon E. Toone
                                                 Ada K. Wilson
                                                 Harold Woodard

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                                                             INTRODUCTION                                                                                                                                                         RATIONALE
                                                                                                                                                                                                                   NC has strong overall undergraduate gradua tion rates (80% of

                            T
                              he University of North Carolina at Chapel Hill (UNC) is committed
                              to helping each student reach his or her full academic potential.
                                                                                                                                                                                                            U      the 2007 cohort g raduated within four years.) However , significant
                                                                                                                                                                                                         d ifferen ces exist within particular groups. Overall, four-year graduation rates
                     Institutional data indicate that while there are many successful students of
                                                                                                                                                                                                         are lower for all male students and for URM students . Black, Latino , and
                     color at UNC, undergraduate men of color including Black, American Indian ,
                                                                                                                                                                                                         American India n male students a re least likely to gra duate within four year s
                     and Latino students, are less likely than non -minority males to persist and
                                                                                                                                                                                                         compared to their peers. While current data indicate that the achi>evement
                     graduate from Carolina.
                                                                                                                                                                                                         g ap between URM male student s and other students persists, the data also
                        The Provost's Minority Male Workgroup (Workgroup) first convened on
                                                                                                                                                                                                         demonstrate that there are varying rates among Black, Ameri can Indian, and
                     February 24, 2015 to examine underrepresented minority (URM)male student
                                                                                                                                                                                                         Latino undergraduate male groups. Students who are on academic probation
                     progress and make recommendations for closing this academic achievement
                                                                                                                                                                                                         are more likely to be male, Black, first generation and low-income .
                     gap. The Workgroup used an Inclusive Excellence approach, which integrates
                                                                                                                                                                                                            Minority male lit erature indicates that successful programs that support
                     diversity, equity, and inclusion into the core of academic institutions, and
                                                                                          1                                                                                                              minority male st udent success are tailored to meet their unique needs in a
                     establishes a direct link between diversity, equity, and excellence.
                                                                                                                                                                                                         purposeful and strategic manner (Brown & Dobbins , 2004; Chiang, Hunter, &
                                                                                                                                                                                                         Yeh, 2004; Cab rera & Nasa, 2001; Cuyjet, 2006 ). Frequently , general student
                                                                                                                                                                                                         success strategies employed for all students will not meet all of the unique
                                                                                                                                                                                                         needs of many minority males. In particular, minority males are more likely
                                                                                                                                                                                                         than other demographic groups to be hindered by financial cha llenge s and
                                                                                                                                                                                                         are less likely to access existing social and academic resources (Cuyjet , 2006;
                                                                                                                                                                                                         Harpe r & Harris, 2010). With the foundat ion of this research, th is Workgroup,
                                                                                                                                                                                                         as well as campus teams and institutional efforts preceding its convening,
                                                                                                                                                                                                         have considered ways that our campu s can more effecti vely provide critical
                                                                                                                                                                                                         and culturally-responsive su pport to these capable students who are
                                                                                                                                                                                                         experiencing unique chal lenges on their path toward graduation.




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                                     CHARGE
              ollowing a series of campus-wide conversations, Provost James W.
          F   Dean Jr. tasked a group of faculty, staff, and administrators with
        examining the structures and programs designed to support the academic
        success of URM male students.     The Provost appointed Drs. Taffye Benson
        Clayton, Enrique Neblett,                                                                       After c::a;np!etlng a pretimincry review of U RM                            Over the course of four months, the \l'/orkgroup,
                                      and Abigail Panter as co-conveners.  The co-
                                                                                                    malo programs, the Workgroup convened to examine                                :ising    relev~nt    re1e.ntion modpls and standards ,
        conveners represent Diversity and Multicultural Affairs and the College of
                                                                                                    UHM male support model~ and success strategies                                  proposed       and vett ed fourteen areas of focus for
        Arts and Sciences, units involved in supporting the academic success of                     from the research, !earn from -:olleagus~ engi:lged !n                          URM male strategy            development.        Through      a
        undergraduate   students.                                                                   URM and URM male focused student success efforts,                              prioritization proce ss, the focus areas were reduced
                                                                                                    and analyze relevant data points. The Workgroup                                from fourteen to four-. These four focus are~s guided
                                                                                                    al~o oxa mtne-d existing       programs     with   positive                    the de:ivelopment of ·four strategies and supportfn.g
           Provost Dean, along with Vice Chancellor Felicia Washington, charged
                                                                                                    outcomes and identH1ed opportunities for growth                                recommendations desig ned to ho!isHt:~llyimpact the
        the Workgroup with completing four key tasks:                                               and gap, in suppor:. Workgroup membe,, split                                   success culture for URM ma!~:>s m UNC .
                                                                                                    il;to area-focused subgroups to maximize efficie ncy_

           Identify areas where the university can begin to close gaps in achievement
        among underrepresented       racial and ethnic groups on UNC's campus.
           Identify and examine (1) existing data, programs, services and strategies,
                                                                                                      Discussed exiiting URM makt cohort dwta, to inctude GPAI and gradui!ltfon rates
        (2) current gaps in services and su pport, (3) unexplored areas of opportunity,
        and (4) areas of redundancy.                                                                  Vlll!wed thit 2011 UNC Mlnartty Malit S1Jmmitv4dwof«oturlng Shaun Harper, dlscu11ed exiatlng minority ma.le demographic              arid
                                                                                                      GPA dffl ond tompleted and discussed sektcted raading:t1
           Define success in terms of enrollment, transition to first-year, persistence ,
        campus engagement, and graduation.                                                            CompUa-d and ra,vi9w1td 111n
                                                                                                                                 1n1io·entory0f existing minority ma.I&programs an,d se,vkas

           Examine undergraduate URM male success and engage key partners
                                                                                                      Adoptsd   a reaearc:h model ta as!ist In organizing ib thinkil'lg .)nd ~'1:rategy dt-velopment process
        across the campus to develop a set of institutional strategies to promote
        and susta in such success.                                                                    Ohm.tHIRdoth« o.ffective strategies for minority male i upp,ort and 1n.1ce:H1frDm cth~r in~tltutioni (Harpvr, UPenn; Hrabraws-
                                                                                                      ki, UMBC; Meoro, Ohio SUtoi Woodard/RB:)', NC State)

                                                                                                      l41.ornod from our -colleagues who are directly invo!v~d in minority rMI• or !Student !liUCl:SH pro9ranu; abo!J't th•ir •fforts a:1'0
                                                                                                      ~i;omH      (Carolina Ml!lennia! Scholar, Progmm, Man::o Sarkar; CAS Mlnorlty Ml'iht JnitiatNe , Chr is Faison , THRIVE@Car,clina
                                                                                                      and Th9 Flr;ish l ine Proj,t:t. Cy"1:ki11
                                                                                                                                              Demo-trio11~

                                                                                                      Concult~d with UNC programs wlth po i ttivs URM academic- parfurmence, d~              for minority m.,iht1i(Carallna Covenant, Michael
                                                                                                      Highl•nd il:n.dInitiativ e for Minetr;ty :Exc:sU«nr:o,V~l'll'rieAshby)


                                                                                                      l.eiimad ab.out the c::ukurally Spi!Crflc needs of diffon11nt;atod minority males with in the URM mate umbrelb: (Amefic:a" !ndiitn ,
                                                                                                      Marcus Collins; Latino, Jo1m1tU Peri,z; and African Amaricon, M~rco B.arku)


                                                                                                      Viawed data hlghli9h1s regarding 2015-2016 flrst: year minority male students          (Admis!ilonl'J, Damon Toeru~)


                                                                                                    FIGURE 1. CONTENT OF WORKGROUP MEETINGS

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                                                                                                                                                              The Workgroup sought t o ident ify a working                      student body.     Each of the eight CAO model key
                                                                                                                                                         mode[    th at embodied         th& essence     of inclusive           doma lr,:s of inst1tutional   re?:ponsibility .2nd action
                                                                                                                                                         oxce!lence.     Among the models rev lewe d wer e , {1)                {progr01ms,policies, prac.tic,g.s,r~sources, str~cturas     1


                                                                                                                                                         Harvey-Smith's Rete ntion Model , wh:ch higfil;gf,t, the               dimate , partner-Ships and inquiri) are focusf:!d on the
                                                                                                                                                         Importance of instituticna[ comn,itmer:t, critical m(iSS,              same goai, which is stude;,t success {Woad & Palmer,
                                                                                                                                                         cultura l and psychosodai support and interact ion and                 2015}. The modef contends that institvtion s of higher
                                                                                                                                                         a supportive campus climate; (2) Horper's Standards                    !earning must "assume responsibiiity for the students
                                                                                                                                                         for Black Male Campus            initiatives which oi.rtlines          that are a-nroHed in t heir institutions"    !!nd "{take]
                                                                                                                                                         developing a writt en str,:jtegy, ground ing initiatives               ownership of feac:hJ st11de7't's affectiv~ deveiop marit ,
                     NC has embraced a model of inclusive excellence to implement diversity and
             U  inclusion organizational strategies on campus . At its core , inclusive excellence
                                                                                                                                                         in   resear~h       and   e ngaging   campus -wide
                                                                                                                                                         discussions about radsm and its effects on .black maie
                                                                                                                                                                                                               ho11est          cognit ive development , and academic performance
                                                                                                                                                                                                                                outcome,"   (Wood & Palmer, 21>15).!n addition to
        engages a change-focused planning process that integrates diversity, equity, and inclusion                                                       student outcomes; and (3) J. Luke Wood and Robert                      irutitutional r~sponlib11ityfer studant success, it also
                                                                                                                                                         Palmer 's Contexts, Actions and Outcomes Mode: of
        into the core of academic institutions , establishing a direct link between diversity, equity,                                                                                                                          emphBsize~ a need fo r institutional ac:1or. in support
                                                                                                                                                                                                                                                               2
                                                                                                                                                         Institutional   Responsibility. Th~ Workgroup         found            of URM male student suco>ss.
        and excellence.                                                                                                                                                      Actions, and Outcomes (CAO} Model
                                                                                                                                                         the Cor.texts   1                                                          While the Workgroup was guidP.d and influenced
                                                                                                                                                         of   Institu tiona l Rasponsibi!ity 1 (which sha res key               by the CAO mod&I, it also utilized the reteiltion mode!s
                                                                                                                                                         p!"inc!plas with the Inclusive excellence model) to be                 of Han;ey-Smith, Harper and Wood and Palmer to
             UNC's adoption of cm ;ndu~iw:,,e;,u::e!l~nce model                 for a more granular, act'..lri:lte, different iated view of
                                                                                                                                                         the most vizible framewo;k for ider.Hfying, organizing,                intorrn a more custo mized rnode! for UNC, focusing
        has been marked by new and lnno·wative app:oachas                       stu dent success. The "inclusive and different iated"
                                                                                                                                            or           and adapting the a,pects of ins:itutlo11al ,upport that                on (1) ac?.demic performance; (2) st1Jdent enrcllmt':!nt,
        to advancing student success -,nd completion.           Most            app rcech ci:ln 1h1.1sind!c;,te academic progress
                                                                                                                                                         are vital to supporting URM males at UNC.                              engagement.      and   wellness ;   f3} .:tdministration,
        notab iyf the un!ver .a;;ityhlls engaged evidience--based               chclien ges within specific student popu!ations such
                                                                                                                                                              CAO takes a holistic approach to success. looking                 facu!ty, and staff empioyment and education; and (4)
        apprca ches through cour se redesign. ~fforts iri gateway               as firs.t gsneraticn    student s, gander groups, Pell and
                                                                                                                                                         :1t the ent :ra institution's    approach     to lt& diverse                         n s cmd ma rketing.
                                                                                                                                                                                                                                commu 11ic:atio
        scien ce courses with outcome:s. t!lat indir.:vte great er              ncn-Peli ~ligible students , and r~dt>l and ethn ic under -

        sun:6li5 for ell students. The university has aiso utiiiied             represented minori ty ~tudents, etc.

        data-informed approac hes for the deve lopment of                            The Wodc.grotip        used the :ndus ive exceilenc:e

        student support and s\.ir.cess str ateg ies.                            and lndusivig and differentiated approaches to clarify                                                    INSTITUTIONAL STRATEGY:
                                                                                which students         are prog;essing     acadamici,lly.   By                                                                     :,:::,::)
                                                                                                                                                                                           INCORPORATING :::':ANO:::     MODEL
             A key elememt of the              inclusive excellence
        ph ilosophy ls a data driven 1:1pproach to inform                       examining qua!"!titative rne-tr!cs that are wideiy used

        institutional responsiveness, c1ctio111 and change acro5s               as academic success indkaton         10    determine mlnority




                                                                                                                                                                                                                                         I
        the organ ization. As it re!ates to underr~pn~sented                    male progress (e.g .. GP.A and grad uat ion rate s}, we

        student     succe~ s more specifically, the app!kation                  have g~in0d insight regarding the recant performcm c.e                                                                                             PROGRAMS

        of   311   indusive axcellance approach
        disaggregation
                                                     employs d?.ta
                           to bettar understand whlch stiJdents
                                                                                of m!nc rity male vndargraduate          cohorts .
                                                                                                                                                                                                                            ••ou,.,             -.cnm




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        ara succee dlng and which students are not . Diversit)'
        researcher     Smith refer~ to this process          of data
                                                                                                                                                                                                              STRUCTURES
        dis.aggregation
        (Smith. 2009).
                            as   "inr.lusfve   and   d ifferentlate d'i
                                                                                                        stands for                                                                                                                                            POLICIES



              On     the   one   hand,   undergraduate
        success can be viewed in the liggregate, with metrics
                                                              student
                                                                                                                                                                                                                         ...,.,.,,.,,r            cu... m
        fndicating the succ:e~s of the ovsrall ur.dergn:iduat e                                                                                                                                                                   RESOURCES
        st udent body . Oil the other h•ed , an "inclusive and
        different iated " process follows a simi!.:ir approach,
        but ernp!oy s the practice of disaggregating the data
                                                                                          utcomes
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                                                                                                                                                                                                                                 male cohort program currently hou sed in OMA, was
                                                                                                                                                                                                                                 originally funded for cne year by the U.S. Department       The focused attention to this issue,
                                                                                                                                                                                                                                 of Educa t ion and UNC General Adm inistration.
                                                                                                                                                                                                                                                                                             particularly during the last five
                                                                                                                                                                                                                                       In 2014 and 2015, two new inlt latives began in
                                                                                                                                                                                                                                                                                             years, demonstrates the Institution's
                                                                                                                                                                                                                                 the area of student success at UNC. Thrlve@Caro lina,
                                                                                                                                                                                                                                 a student success initiat ive, developed by a campus
                                                                                                                                                                                                                                                                                             commitment to develop, implement
                                                                                                                                                                                                                                 workgroup and led by Enrollment Management            and   and assess sustainable strategies
                                                                                                                                                                                                                                 D;versity and Multicultural Affairs was estab lishe d .     that will eliminate the existing
              In Spring ~~014,nationai and local event s sparked                                                               consis tent media foclJs on ma!e studant•athletas,                                 has            The Finish Line Project, a series of research studies       achievement gap in the near future.
                                                                                                                                                                                                                                 focused     on first·generat ion college   students   and
       r.riticol conve rsations acro5s the campus community.                                                                   increased concern about tfle climate for URM males
                                                                                                                               stude nts in particular.                                                                          funded by the U.S. Department        of Education, was
       Even prior to the !a!it ye,;r of sust;'l:ned national clnd
                                                                                  disc.:oursa.                                          Over tf-te last flva years, data disaggregation                           and            also launched.
       :nst!tuticnal        race and etrlr.ldty                  related
                                                                                                                               anaiysis has sparked important conversat!ons about                                                      A longer standing program , Carolina Covenant
       UNC URM ma:es were express ing tha:r needs to
                                                dfrect t:ommunicatior, with                                                    URM mi!lle 5Uccess. 1n 2010, the Retention Task Force                                             Scholars, is a premiere instltutional scholarship effort
       our in!rtitution          through
                                                                                                                               at UNC conducted                        a st udy o-f studtmt ratention , to                       and academic success model, Covenant, which began
       profess lona l staff, to one anoth er, with in campus
                                                                                                                               follow up on the last rnajcr retention ~tudy, which                                               in October 2003, combines a we b of support services
       organizat ions sud; as the Caroiina Indian Clrcle, Black
                                                                                                                                                       4                                                                         and    prog rams (including academic       support    and
       Student         Movema nt and Chi5pA (Carolina Hispr:it'lic                                                             wa:s:conducted in 2004.     1n 2012 an institutiona l                 1



                                               as well as through                         sociat                               team corNened by Diversity and Mufticult ura l Affairs                                            intervention , enrichment and personal development,
       Student         Assodation},
                                                                                                                                (OMA), the Center for Student Success and Acadamic                                               mentoring,    study ab road and campus engagement
       medi a. Through the use cf soda! madia, multicl.lltural
                                                                                                                                Counseling, and Undergraduate                                    Retent ion submitted            and community service) in support of each scho lar's
       organizatio ns and informa l gmup s of diverse students
                                                                                                                                a grant proposal for the Carolina Mi:lenniai Scho:a rs                                           academic succe ss .
       at UNC and on campuses nati on'l·.1idehave created
       a "rea l time " s tud ont foodbad< culture for URM and                                                                   Program tCMSP;. The CMSP prog ram , an act ive URM

       broader ~tude nt climate issues. An lmpoitcmt topic
       amoog students has been the 5'tatus of URM fn~les
       at thi& University. UNC's demographk                                  mi!lk~up (see
       Figure 2,) the increased dl~cus~lon regard1ng URM
       and URM ma!e related topks in soda l media , imd




       FIGURE 2A. DEMOGRAPHIC MAKE-UP
       OF UNC STUDENTS                                                                                                                                                                                                           FIGURE 2B. DEMOGRAPHIC MAKE -UP
                                                                                                                                                                                                                                 OF UNC STUDENTS

              -:_;:. SLACK {8.5%)
                                                                                                                                                                                                                                       <·   MALE (42.3%)
                       AMERICAN INDIAN (0.53%)                                                                                                                                                                                              FEMALE (57.7%)
                       ASIAN (10 .94%)

                       HISPANIC (7.57%)

                       WHITE (65.3%)
                                                   3
                       OTHER (7.07%)




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                                                                                                                                                                                                   Taken together,           the average GPAs for all URM
                                                                                                                                                                                            male students-Black,                Latino, and American lndicm,
                                                                                                                                                                                            has not exceeded the 3.2 mark for over a dec ade.
                                                                                                                                                                                                   The data show that URM male students                      at UNC
                                                                                                                                                                                           graduate  at a lower rate than their Wh ite peers
                                                                                                                                                                                           and that they have lower GPAs. For students who
                                                                                                                                                                                           graduate,           those     low GPAs affect            post ·graduate
                                                                                                                                                                                           study potential,             lessening         UNC's effectiveness        ;n

           In an efiortto    understand             the full pict,ire of URM                                                                                                               supply ing the diverse talent pipeline for graduate

       males at UNC, the Workgroup                     critically examined                                                                                                                 study and completion .

       retention and grade point averages (GPA) of URM
                                                                             . While
                                                                                                                                                                                           ----~,.,....... . .. . . . .. . ....... . ..... . ----
       rr,ales and their Whito male counterparts
       impro vemer.t of URM mc1!es' four-year graduat ion
                                                                                                                                                                                           FIGURE 4.
       rates wore observed ir. recent yecus, f,.,r cohort
                                                                                                                                                                                           GPA AT GRADUATION OF URM MALE STUDENTS AT UNC
       2010, the gaps of the four-year graduation ni:tes
                                                                                                                                                                                           3.3.,....--------                                  --     ---        --        - --   - ------
       between White and Hispc1nlt:, and American lnd lan
                  were raduced to 4% and 6% respectivaly,                                                                                                                                  3.2

                                                                                                                                                                                                                                                                                       : ·..;.y:•:• ·❖:; :
       students
       but for Black ma1~:]'s,the gap is still as large a:s 19% .                                                                                                                          3.1                                ~ ::::""
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           Figure 4, depicts              the GPA at groduation                        of                                                                                                                    •,,,.•,,,....
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       URM maie st:idents at UNC from cohort 2001 (Class
       of 2005i through          cohort 2009 (Class of 2013). As
       Figure 2 shows, for Black male students                    1   GPAs r.ever
       break the 2.9 rnork. Given the 3.0 GPA minimum
       sta nda rd fer acceptance               and success in gradm,t~
       and p rofessionai school, this is ar. 3rca of cor.cern.                                                                                                                             2.6 ...' -     -   ------

                                                                                                                                                                                           2.5•r---- - - -----                                     -------
                                                                                                                                                                                           24
                                                                                                                                                                                            " .C2001 · C2002 ,-·C2003 I C2004 ! C:2005 ' C2006 I C2007 .! C2008 ' C2009

       FIGURE 3.
       FOUR YEAR GRADUATION RATES OF URM MALE ANO WHITE MALE UNDERGRADUATES

       90.0% ~-       --         --        -    -    ---              ----                  ---       -       -   -     -    -      ---        --

       80.0%        - -     --        -    ----,       ..~ ..... .. .... .....-.. ......·.•.•.•·'····
                                                                                                  ···•''···                           •.·}::
                                                                                                                      ······· ·· ·.·.•.•.                    WHITE



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                                                                                                                                                        -c-
                                                                                                                                                              BLACK

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       50.0o/o - ... •.. ... ~f),"v_                           ___                lr::·---
                                                                             ---'<e_                                                                    .•,K-· AMERICAN INDIAN
       40.0%

       30.0% ··..   ··········---        - -c--------r--
                                    -- 2007
                                  - FALL                                                          -FALL         ----,2010
                                                                                                    ----2009 - FALL                                 [
                .     FALL 2006              I FALL 2008




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              or nearly 25 years , Black and American Indian male and female students with 3.0                                                             ollowing the 2010 retention study and subsequent Forum on Minority Male Success ,

           F  cumulative GPAs have been acknowledged at the College of Arts and Sciences'                                                             F    campus units developed and implemented programs designed to enhance the
                                                                                                                                                                                                                  5
        Hayden B. Renwick Awards , a minority academic achievement ceremony.                                                                       living, learning, and social experiences of URM males at UNC. While these initiatives

          On November 2, 2011, UNC's Office of Undergraduate Retention conducted a survey                                                          represent a concerted effort to meet the needs of UNC's URM male student population,

        of "successful" URM male students at UNC, with success defined, in part , as a 3.0 GPA or                                                  the Workgroup identified gaps in services that require immediate action:

        higher. URM male grades and credit hours were analyzed and URM males responded to a
        self-reporting survey.




                                                                                Reports by Caroli no Covenant highl ighting URM
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                                                                            male graduation rates and GPAs arid Undergraduate
                                                                            Retention 's data d rawn from its 2011 survey provides
                                                                            an Indication of an internal success-bearing modei
                                                                            fo r URM male student .success and guidance on Hie
                                                                            types of strengtns
                                                                            URM male students.
                                                                                                  that UNC must cultivate in its
                                                                                                     The Provo,-t's Minority Male
                                                                                                                                                                   :;::
                                                                                                                                                              .::~~r:q:F
                                                                                                                                                                    :,~
                                                                            Workgroup builds on the work of previous groups
                                                                            by offering an inst itutional action model wlth key                                         FIGURE 6. SERVICf GAPS THAT REQUIRE IMMEDIATE ACTION

                                                                            arects of foe-us and inltlal ot.Jtline of strategies   for
                                                                            near term implementation .


                                                                                                                                                                                                           Without a central office taking
                                                                                                                                                                                                           leadership of URM male efforts,
                                                                                                                                                                                                           there Is potential for well-Intentioned
        FIGURE 5. STRENGTHS OF SUCCESSFUL URM MALE STUDENTS AT UNC
                                               :oemotrlau and Powttll, 201 fJ                                                                                                                              program development to lead to
                                                                                                                                                                                                           redundant and competing efforts.



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                                                                                                                                                                   minority    maies prior to col!ege entry to better
                                                                                                                                                                   navigate UNC; creating touch point s with counselors
                                                                                                                                                                   and teachers;   and providing opportunities         for UNC
                                                                                                                                                                   minority males to engage ma le youth. Workgroup
                                                                                                                                                                   members also felt that resources to create new (or
                                                                                                                                                                   expand existing) programs aimed at K-12 outreach
                                                                                                                                                                   targeting     minority    males would        be    beneficiol.
                                                                                                                                                                   Relations with community         colleges     might be one
                                                                                                                                                                   example of other postsecondary              institutions that
                n addition to the four target areas, the Workgroup identified additional domains
             I
                                                                                                                                                                   might facilitate the successfui transfer of URM male

                informed by the CAO mode l (Wood & Palmer, 2015) that should be attended to in                                                                     students to Carolina. Finally, partnerships that result
                                                                                                                                                                   in professi ona l opportunities        {e.g., internships,
        future efforts. These include : review of existing institutional policies; strateg ic planning;
                                                                                                                                                                   practica,   fellov·1ships, work experiences)        for URM
        culturally relevant pedagogy/practice;                           resources for institutional capacity; maintenance and                                     males sh o uld continue to b e maintained, fostered,
        development of partnerships; and assessment and inquiry.                                                                                                   and developed.
                                                                                                                                                                        AHessment/lnquiry: Given institutional empha!ti!t
                                                                                                                                                                   on evidence-based        practice and data~driven decision
              Review of Institutional Polley: Institutional                           student populations. UNC shoul d conti nue to ;dentify                       making, resources should be allocated for ongoing
        academic       po!icies    (add/drop,      withdrawal,    filing              best practices with regard to servir.g URM males, such                       critical assessment      and inquiry of campus climate,
        deadlines,     admission     criteria) and servi ces (e.g.,                   that stud~nts s~e themselves rept'esented In curricular                      existing programs serving URM male!i, and URM male
        work study, institutional       aid) should be reviewed                       materials, and the teaching         ap p roaches employed                    student     outc:ornes. VVcrkgroup members suggested
        to identify any that may adversely impact or inhibit                          by instructms     are co11grnei"lt with diverse rn!tural                     that additional inquiry efforts might inc:h..ideintervtews
        the success of URM males. An example would be                                 perspectives/worldviews.                                                     with   current a,,d former         students    1   ana!ysi~ of
        eligibility   and enrollment       policy.      Such a review                      Resour~es      for lnstltutlonal        Capacity:     Wood               graduation and matriculation rates 1 arid assessment of
        migrlt consist of surveys or interviews assessing why                         and Palmer 1m1kethe point th at resources allocated                           other programs and i!"stitution~ with a successful track
        minority males stop/dropout             and consist of direct                 to the    succe5s      cf men      of color      would     build              record for supporting minority males.
        outreach and engagement          with those studen t s who                    institutional capacity . They oote that a key element
        leave the university.                                                         is si.Jstalnability as efforts often re!y upon one•tirne
              Strategic Planning: Institut ions should develop                        er intermittent funds. They suggest that institutions
        strategic plans that spedficaily target improved URM                          make     strong    efforts   to    sust~in     advancements
        maie success and outcomes.          Such a plan can serve                     with re5pect      to URM male success            thro ugh the
        as a benchmark        for achieving success         goals aod                 institutionalization   of ded!cated     re.;;ources .
        provide a framework for co ntinuous improvement.                                   Partner!ihips:      UNC       sflould      continue      to
        Workgroup members suggested               establ ishing a plan                foster   st rategic partnarships      with Pr&K~12, ether
        that articulates     specific programs          and strategies                po.st.secondary    institutions,   and industry. PreK~12
        and institutional philosophies ond policies that are                          programming should maximize exposure of future
        designed      to change the campus climate to better                          students to the cc:impus and outrec:ich efforts should
        support the success of males of color.                                        also visit the com!"!'lunlties where future students
              Culturally Relevant Pedagogy: In recent years,                          may reside.       While programs        such as First Look,
        UNC has identified several cutting edge strategies for                        Carolina ADMIRES, Tar Heel Preview Day, and High
        engaging dive rse students. Course redesign strategies                        Schoel Honors Day serve as positive examples of
        have resulted in increased s1Jccess among ail students                        this work at UNC, VVorkgroup members suggested
        with notabie       improvements         among    specifi c URM                further enhancing      existing programs         by prepar ir.g
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                                                                                                                                                                                                 Description: To serve URM males, robust student                    SHARED OVERSIGHT OF
                                                                                                                                                                                          success     tools     are critical to provide continuous
                                                                                                                                                                                                                                                                    ACADEMIC PERFORMANCE
                                                                                                                                                                                          communicatio n with students and provide quick,
                                                                                                                                                                                          accurate         feedback        on student       performance       to
                                                                                                                                                                                          Universi ty profes~iona!s, Add!tionaily1 sophistlca ted
                                                                                                                                                                                          data     analytics        are required      to fully appreciate           (1) Implement Robust Student Success Tools (Degree

                                                                                                                                                                                          stude nt academic            performance         and 1aseds, and          Audit, Eariy Warning, and Data Analytics)
                                                                                                                                                                                          to make timely interventions.                    A key group of           (2) Hire an Academic and Leadership Coordinator

                                                                                                                                                                                          student sw:cess stakehold~H$, led by Steve Farmer,
                     he Workgroup's strategies                           and recommendations                         were developed with an eye
             T
                                                                                                                                                                                          Chris Derickson, and Abigail Panter, are currently
                     toward the best opportunities for immediate impact. The recommendations that                                                                                         developing         daslgns with lTS to refine our limited
                                                                                                                                                                                          degree audit and early warning syste ms.
        follow are a first step to address the previously stated gaps in support while eliminating the                                                                                                                                                                       Assess the effectiveness of the ale,t system
                                                                                                                                                                                                 lmplementath,n:           A representati\Je from Diversity
        risk of redundant and decentralized efforts.                                                                                                                                                                                                                          Co!labcrate with the Coord!natodor       Minority
                                                                                                                                                                                          and Mult ir.llitural Affairs should join the group of
                                                                                                                                                                                                                                                                    Meile Mentoring and Engagemel"!t
                                                                                                                                                                                          student      success stakeholder!:;,             These too!s must
                                                                                                                                                                                          provide support to current programs and se rvices                                   Co!laborate with the learn:ng Center, Career

                                                                                                                                                                                          supporting        URM males in the followlng ways:
                                                                                                                                                                                                                                                                    Services, and other key unit5 in re-view:ngpresentation5
             The strategies         target     four areas: (1) shared                                be a more routinized and coordinated                      process for                            Ea~y identification of participants in cohort                 and    student   performan ce      workshops      and   how

        oversight of academic performance;                  (2)   creating a                         working together , An iterative, ongoing process for                                 programs: (Carolin?. Millennial               Scholars Programs,          p;esenter-s interface with diverse ma!e students.
        safe space for student grolNth and development;                     (3)                      discussing and developing critical new interventions                                                                                                                     Focus on junior and senior engagement,
                                                                                                                                                                                          Carolina Covenant Scholars, Carolina Firsts; Greek
        training and education for administration,                   faculty,                        ts necessary . To ensure a coordinated                     approach,                                                                                           which will build beycnd           first- and second-year
                                                                                                                                                                                          organlz~tions) .
        and staff; and (4) strengthened            communications and                                more specific support structures for advising need                                                Full access to critic:al student data granted
                                                                                                                                                                                                                                                                    er1gagement that iS:currently in place in the College
        marketing. 6                                                                                 to be implemented             and a central professional           to                to campus           partners       who work with URM mal•                 of Arts and S,iences.
                                                                                                     monitor the success of URM male students should be                                   populations including, but not limited to, semester-                                Leadership      development     and     academlr.

                                                                                                     designated . The central professional                    should serve                to~semester           and        ye ar-to~year    retention ,     early   .:oad,ing for multic:u!tu;a! students and org ani:zations
                                                                                                     as a point of contact for URM male students.                     This                warnings,         use of campus services,            and progress
             Two units         currently      have    respo nsibility      for                       approach       would increase coord ination and signal                               towards degree completion,
        undergraduate        academic performance              and student                           the priorlty nature of this issue to the university.                                            (2)     Hira     an     Academic       and    Leadership
        success at UNC:                                                                                    The campus          must develop           and reinforce         a              Coordinator
                   Office of Undergraduate            Education                                      cultme of help-seeking              behavior which promotes                                  OeS<riptlon:        The Academic           and   Leadership             Three unitsc.urrent!y work in, ha\Jaresponsibility
                   Office of Diversity and Multicultural Affairs                                     "cells for help" by URM male students earlier ;n the                                  Coordim•tor will report tc the Director for Inclusive                    for, or are dmrged to address studef!t enrollment,
                   Office of tha University Registrar                                                academic term, as weli as find ways t o be attentive                                  Student         Excellence.       Having the      position     at the     engagement, and wel!nass: at UNC :
             The Workgroup            identified      several     strategies                         to the diversity of URM male students across various                                  Institutional leve! allows the coordinator to monitor                              Division of Student Affairs
        witrlin this area of focus. Shared access to academic                                        intersections,        includ ing ethnicity,         clas s, vete ran                  students        across o:olleges, sd,ovls , and majors.                            Undargnsduate      Admf,5sions .?1ndEnrollment

        performance        data (as permissible           under the law)                             status, transfer status, sexuai orientation,                  gender                         Search       Committee:         The search        committee        Management
        for all key stakehold ers, inc luding increased                  data                        identity and expression, and more.                                                    would       be     ied     by Ada       Wilson      Suitt,     Josmell              Diversity and Mu!ticultural Affairs
        tracking ability and data transparency                    across the                                                                                                               Perez , Chris Faison , Cynthia Demetrlou,                    and Ion           The Workgroup        identified   severa!   strategies
        institution, is vital. Additionally, stakeholders               would                        RECOMMENDATIONS                                                                       Out!erbridge.
                                                                                                                                                                                                                                                                     that would heip achieve S;uc,:e:ssin thls focus are:!.
        need an improved early warning system to track                                                     To impiement            the     academic           performance                         Job Dulieo: Tha Academic                   and Leadership          UNC should      creato    a safe and vibrant       physical
        stude nt progress during each semester.                                                      strategies     mentioned       above, the Workgroup makes                             Coordinator would have the following duties ;                             space for dialogue on identity and radal and ethnic
              in order to          leverage increased access to                                      the following two recommendations .                                                               Moaitor the new alert system and provide                      consdousnes~.     Tr'lis space     s:hculd also promnte
        academlc: performance            data and the early warning                                        (1) Implement         Robust Student          Success Tools                                                                                               cultural be!onglng and affirm identity. There are ar.
                                                                                                                                                                                           reports to key administrators
        system among          selected       stakeholders       there    must                        (Degree Audit, Early Warning, and Data Analytics)
        6
          The '../,/otkgroup found the following factors deemed t:ritical lo the effec.tive implementati on of the :;trategie:; ar,d reccm1mendations . (1)
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        array of URM male related opportunit ies (Carolina                    process Tor URM ma!e students fo llowing aca d en-,It:
                                                                                                                                                                      Minority Male Mentoring and Succeso:Expand                         ADMINISTRATION,
                                                                                                                                                                  the first -year retreat and sympo sium to incorpo rate                 FACULTY, AND STAFF
        Millennial Scholars, Carolina M.A.L.E.S., Mer. of                     or personal challe ng ~s.
                                                                                                                                                                  Strengthsquest,      DISC,     and       other    assessments
        Color Engag ement,         RISE), as wa il as many other                   !n te rms of ou trea ch and admissions,                     our                                                                                       RECRUITMENT
                                                                                                                                                                  des igned to       measure    st udent     performance        and
        engageme nt activities for URM ma!e students.            The          campus shoLild stre;;gther.              its efforts to attract                                                                                            AND EDUCATION
                                                                              and re cruit URM ma le sb.ident s.             lnc.:r~a~lng URM                     outcomes .
        extensive numbe r of engagement opportunities              on
                                                                                                                                                                      College of Arts and Science•' Summer Bridge
        our campus requ ires an easier way for student s to                   male prasar~ ca and othe r forms of diversity on our
                                                                                                                                                                  Program: Increase the num ber of slots speclfically for
        connect with the information. Both a phys ic~l lo cat lon             carnpus e nhances t he acade mic and co -,urrfcular
                                                                                                                                                                  ma le students .                                                       (1) Hire a Coun seling and Psyc hoJogicaJ Services
        and a virtusi hub where URM students can c onnect                     expe rienc es of al! stvd ent s.              Thare      ara    new
                                                                                                                                                                       Fraternity and Sorority Life and Community                        (CAPS) Counselor       Spedali2ing        in Race/Etlmicity
        and easi iy acce ss informat ion sho uld be establi shed.             oppo rtuni ties to connect URM alumni e ngag e me nt
                                                                                                                                                                  Involvement:       Provide academic         and engagement             and Ge nder
        This strategy can allevfate student confuston about                   wltl, student      succes5 effo rts by developing              mo re
                                                                                                                                                                  sessions spoclfica!ly for male students, working with                  (2) Hire a Scholar in the Are ~- of Diversity, Male
        various URM male efforts and decrease feelings of                     intentional con nect ions with URM alumni networks.
                                                                                                                                                                  the Coordinator for Minority Male Engage me nt in the                  College Students , and Student Engagement
                                                                              Tha ur,iver~ity should allocate resomces to e xpl ore
                                                                                                                                                                  College of Arts 2nd Sderites and the new Coordina tor                  (3)   Pub licize and encourage        Faculty and Staff
                                                                              and support        potential     URM alumni engagement
                                                                                                                                                                  fo r Academic and Leadersh ip Devel opme nt .                          Training Opportunities
                                                                              and st ude nt suc cess synerg ies.
                                                                                                                                                                       (3) Create a physica l space on campus that affirms
                                                                                                                                                                   URM mate exper iences
        CREATING SAFE SPACES                                                  RECOMMENDATIONS
                                                                                                                                                                       Description: A dedicat e d physical space will allow
        THROUGH ENROLLMENT,                                                        In    ge neral,     the     Workgrcup            recommends
                                                                                                                                                                   URMmale s to build commu nity, cult lvote broth erhood ,
        ENGAGEMENT                                                            building on existi ng UNC program s: that su pport
                                                                                                                                                                   an d devel op o genu ine connection Caro lina.
                                                                                                                                                                                                                                         fe r facu!ty and staff ore an impo rtant si:ep towa rds
                                                                              enrollment , engagemer.t              and wellne ss.
        AND WELLNESS                                                                                            1

                                                                                                                                                                       Funding sourc,,:        Offices of the Chancellor and
                                                                                                                                                                                                                                         furthering organizationa l le-2rn:n9 at UNC.          Having
                                                                                   {1) Create an Jncfusive Exce flgncf:! Grtitrt Fund                                                                                                    Sl-?nior le\'el leadership e~gagement and support cf
                                                                                   Description : Tha Inclusive Excellence                    Grant                 Provost
                                                                                                                                                                                                                                         thoso efforts will be critical to encouraging faculty
                                                                                                                                                                       Location:      A committee          will identify     curren t
                                                                              Fund is a $250 ,000 grant fund specificall y al:ocated                                                                                                     and staff portidp~ tion,       Contlnui;;g and increasing
        (1) Create   an tnc!u.siYaE~ceil,mc,;; Gran t Fund                                                                          of a broader                   unused spaces and submit a reco mmen dation to the
                                                                              for URMmale success as a component                                                                                                                          support for current workshops for faculty ar'id staff
        (2} Grmv CLJrrant Succ ess ful URM Mal e !r:iti atfv es                                                                                                    Chancellor and Provost.
                                                                              indu slve excel!ence instit utional ca pacit y building                                                                                                     addressing matters of race, climate , inc!usion 1 ar.d
        (3) Cre"te   i.!   phy5ical space • on campus that ;,fflrms                                                                                                    Timeline (Two Year.s): Year 1: Review existing
                                                                              effor t . UNC programs            designed     ·tc ar:hance th<:                                                                                            cultural compe tence is also rctcommended.
        URM mal <.-expe riences                                                                                                  can sub mit                       unused space and submrt recommendations; Year 2:
                                                                              ex perien ce of URM male students                                    rl
                                                                                                                                                                                                                                               Furthering    prog ras~ on UNC'5 commitment
                                                                              request for up tc       g   three ~year grar: t cyclo .                              Begin space renovatio n and modifications.
                                                                                                                                                                                                                                         ta    diversify its admin ist rat ion, faculty, and staff
                                                                                   Gnmt        Selection:      An      lnclus lva     Excaller.ce                                                                                         is ir.tag ral.         raging the
                                                                                                                                                                                                                                                            Lit1ve                 Provost 1~ Targeted
                                                                              committee will select the grant recipients ,                                                                                                                Hiring Program, the Caro lina Po::;tdoctorai Program
        isolation created when students are unable to easily
                                                                                   Accounting : Ac~ountin g for the grant wiil b<:                                                                                                        for Facu\ty Dlversity, and more irinovativa hiring
        consi der ond navigate the range cf oppo rtun!Ue!:.                                                                                                             Four units curre ntly work in, have rer-ponsibility
                                                                              mandged        by the Office of the Prov ost .                                                                                                              strategies , sLich as d uster hiring, cou!d assist In
            Academic advisors shou ld be well t rained in                                                                                                          for, or are charged to add ress adm inistration, faculty
                                                                                   Gr~nt       Admin istrator : The           gra nt    wll! be                                                                                           advanc ing t hese effor.:s.
        engagir;g URM mal{:! students and availab!e to offer                                                                                                       and staff employment and educat ion at UNC:
                                                                              administered       by Diversity and Multicu ltural Affa!lrs.                                                                                                      Rac:ognitlon for me nto ring and service related
        direct assistance, a~ needed, to URM maie students                                                                                                                     Dlvl.ion of Workforce,          Strategy,      Equity,
                                                                                   (2)       Grow    Current        Successful       URM      Ma/9                                                                                        wo rk p~rfa,med      by facuity and staff, to inciude
        during the class re gistration         proce ss, part icularly                                                                                              and Engagement
                                                                              lnft lativas                                                                                                                                                con.iiideratlon    of how ind ividual fa cult y service
        those   who are flrst ge:;eration         coilega stu dants.                                                                                                           Dive rsity and Multicultural Affairs
                                                                                   De!i.cription:    Certairi UNC iriitiat:ve-s hav e been                                                                                                eff orts lservice an dive rsity, incl usion and URM-
        Furthermor e, UNC should req uire cu!tura l compete nce                                                                                                                Office o~ the Provost
                                                                              succes.sful i" enc:ouraging the ~c:ad~mk sm:cf!ss of                                                                                                        rehited     corr.m!ttecs,     stud ant      mentor ing)      a re
        and an ti-racism workshops for all fac ufty and staff ,                                                                                                                Postdocto ra l Affairs
                                                                              URM male students at UNC. These initiatives r.eed                                                                                                           valued in promoHon decisions,             as we :I as by t he
        particularly those who work with URM ma le and other                                                                                                                   Cant e r fer Faculty Excel ience
                                                                              support to grow.                                                                                                                                            greater     campus     community,         cou ld encourage
        diverse stwdent populat ions.                                                                                                                                   The Workgroup identified severa! strategies th3t
                                                                                   Carolina Mlllonnlol Scholar• Program: lnm,a,e                                                                                                           moro faculty engagem e nt a round URM and URM
             The University        should     exami ne URM rnale-                                                                                                   would help achieve success ln th is focus area. Cultural
                                                                              concort , irn by 10 students (to 40 tot al student$) aod                                                                                                     ma le stud9nt succes!t.
        spe d fic out come s for student        conduct and honor                                                                                                   competence       and anti-racism education             workshop.!:
                                                                              add a g radrn,te assist;,mt.
        sy~tcms      and     ~uppcrt    and   clari fy the   re-entry
                                                                                                                                                        19   20
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                                                                        Case 1:14-cv-00954-LCB-JLW Document 165-3 Filed 01/18/19 Page 13 of 17
                                                                                                                                                                         students.   The calendar should be easily accessible              new students to Carolina , hosted by Diversity and
         RECOMMENDATIONS                                                           STRENGTHEN                                                                                                                                              Multicultural Affairs. The purpose of ACE is to provide
                                                                                                                                                                         and kept up- to- date .
                 To implf!mant tha administration , faculty, and
                                                                                   COMMUNICATIONS                                                                             Similc>r!y,there should be a mechanism to post               "additional opportunities for students to ensure a
         staff     employment       01,d education         opportunities
                                                             make s tha
                                                                                   AND MARKETING                                                                         progrnms,    servkes   1   and opportunities     available to     successful trans!tion to the Carolina campus through
         mentio"ad        above,     the     Workgroup
                                                                                                                                                                         URM male students and to share good news with the                 a series of activities that :assist with establishing a
         fo!lowing three recomrnendatioris.
                                                                                                                                                                         entire un lvers ity commun it y and key stakeholdera.             network of peer support and familiarity with important
                 {1) Hire a Counseling and Psychologic:al S e rvices
                                                                                                                                                                         Similar challenges exist with this notification system            academic, social, and cultural supports ."
         {CAPS) Counse!or Specialiiing in Race/Ethn icity and                      (1) Create Posit ive Narratives               of URMs on Campus
                                                                                                                                                                                                                                               Leadership: This initiat ive   willbe directed by Ada
                                                                                                                                                                         as do w rth the calendar system .
         Gend er                                                                   (2) Create a Cent ral Hub for ln;o,mation                                                                                                               Wllson Suitt.
                                                                                                                                                                              UNCshould consider "Welcome " communications
                 Description ; Hire a CAPS counselor                whose          (3) Emure               URM Male       Students      Participate      in
                                                                                                                                                                         to URM ma !e st udents ragarding univers ity activ ities
         ~pedalty is the int ersection of race/ethnicity and                       Achieving Cam.lina Excellence
                                                                                                                                                                         when the students first receive acceptances to UNC.
         gender      or intersecting       identities   with exp~r ier.ce
                                                                                                                                                                         UNC should also co ns.ider a door marker (similar to
         wor king with URM males in higher edur.:atk>n.The
                                                                                                                                                                         "Safe Zone") to identify faculty and staff advocates.
         coun:.e ior will prov!de ~ervke~ to student~,                 hold

         regular d iscu ss ion sessions abmrt race, and respond
                                                                                    Training Opportunities                                                               RECOMMENDATIONS
         t o nationol tr;~umatic ave nts. The budget     wi!l be
                                                                                          O~scription : To ensure faculty and staff are                                       To implement the communicatioos and marketing
         $60 -7 CK for annual salary wlth an additional             $5 ,00 0
                                                                                   informed about naw tra ining opportunities                     C!''2-atad             opportun ities   mentioned        above,   the    Workgrcup
         ann ually for an operational budget.
                                                                                   by the recommendations               of this Workgroup .ar:dt;hose                    makes the following three rec:ommendations.
                 Hiring Commltte,m : The hiri ng committee              will
                                                                                   of the Prevost·~ Cnmmittee on Inclusive Exceilence                                         (1} Create Positive f'Jarratives of URMs on Campus
         be led by the Cl,P S diracto r in consultation                with
                                                                                   ~nd Diversity (PCIEO.:,,we recor:-:mer.d working wlth                                      Oe5cription : We recommend            that UNC ensure
         Enrique Neblett.
                                                                                   the PC!ED to create a cantraib:ad ilsting of theae                                     that there ?.orecampus stories and profiles (of facufty,
                 (2} Hire a Scholar in the Area of Diversity , Male
                                                                                   educationai !"esources.                                                                staff, and students} that focus on men from diverse
         Coliege Students, and Studem Engagement
                                                                                                The Char.cellor'5           or     Provost's    d~Jsignee                 backgrounds, and ensure that these stories are
                 Description:      Hous<>d in tho         Office   of the
                                                                                    can appri se facu it-j ;md staff througr.              ;J   varlety of                pub lished on both UNC, local, and national out!ets ,
         Provost or the Ottke of Undergraduat e Ed~c:ation,
                                                                                    communicat!or,           venues,      Informing     them      cf   tha                     Leadership:This initiative will be l&d by Chris
         post -doctorate        positioo    (salary $75,000-$90,000)
                                                                                    avaHable educational resources , Con nections shou!d                                  Faison.
         will target     a scho!ar whose           area cf res ear ch i~
                                                                                    be created with Deans and Departme nt Cha!rs.                                              (2) Create a Central Hub for Information
         maie      college    students , d ive rsit y, and         stu de nt
                                                                                                                                                                               Description:     V-✓e   recommend    that UNC invest
         sr.gagamerit        ~md wh❖ h,a,s ~ desire           to    pursue
                                                                                                                                                                          resources to imp rove and expand the existing web site,
         a career      in diversity,       inclusion    and /or inclus ive
                                                                                                  ·2·:::-.-:.
                                                                                    ·,.;_\•".::·.:::                                                                      http://menofco!or.web .unc .edu, whkh co ntains a
         exce!lenr.e .
                                                                                          Three units currently work in, have respons ibiiity                             iisting of programs, research and data, resources , and
             Job OMcription: The sch o!ar w!II teach at least
                                                                                    for, er 2:1rer.:h~rged to address             cornmun!t:at1on.s tJncJ                 more. It also provldes access to a listserv that students
         one course, lead semlni:lrs for faculty and staff on
                                                                                    marketing       ;;it   UNC:                                                           can subsc ribe to.
         LJRM male student '-'ngagemer,t, and regul arly
                                                                                                Communfc:ations and Plibik Affairs                                             Graduate       Ass1stant : Hire a comrm.u,1cations
         consult with senior leaderslilp.
                                                                                                Division c,f Studa!"!t Affairs                                            gradua t e assistant who can ensure ·the website ls up -to-
                 Research : The scholar wil1 engage in important
                                                                                                Diver sity end Multlc:utturnt Affairs                                     date and who can create stories fol' communications.
         res2arch studi·es such as examining URM male athlete
                                                                                          Schoo is and            dl vl s!o ns a,:ro:s-s th e un!vers.ity                       Leadership: This initiative will be directed by Chris
         and non-athl~ te experitmcas at UNC a11dorgan izing
                                                                                    community are a!so res.ponsib:e for ma int aining up-                                  Faison, wl-lowll1a!so supervise the graduate assistant.
         stud~nt focus groups.
                                                                                    to-date ,ommur.katio;;s, The Workgroup identified                                          (3) Ensure URM Male Students               Participate in
                 Search Committee: The search committee wiB
                                                                                    severa! strategies          that would help ach ieve          S!.!CCess                Achieving CarolinaExcelience
         be led b~t Marcus Col!ins1 Deborah St1oman, Sharick
                                                                                    in this focus area . UNC should mai::tain and update                                        Description: Achieving Carolina Excellence (ACE)
         Hughes , .4.bigoil Panterf and Mcuco B~rk1:1r.
                                                                                    cl calem.lar with events   of interest t c URM mcile                                   is a pre-orientat ion progrnm designed to welcome
                 (3) Publicize and encourage            Facuity and Staff

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         OVERARCHING ACTION ITEMS                                                                                             CONCLUSION
                                                                                                                inority male achievement is a critical "top of mind" issue for higher

           I
             n add'.tion to th_e r~commendations and ,~trategies outlined above, there
             weref1ve key action 1temsthat emerged as overarching" recommendations .
                                                                                                          M     education institutions across the country. As the nation's first public
                                                                                                       university, UNC will respond effectively to an achievement gap that persists to
                                                                                                       varying degrees among URM (American Indian, Black, Latino) undergraduate
           These action items are:
                                                                                                       males.   Recent investments by institutional leadership in academic support
                                                                                                       programs for all students indicate the priority nature of this matter for our
           (1) Establish a formal advisory board for the Minority Male Initiative.
                                                                                                       university. We are committed to supporting talented undergraduate         students
        This board should be composed of professionals with a documented record of
                                                                                                       who arrive on our campus each year to achieve their loftiest academic goals .
        success working with URM male students with ties to the university, e.g., William
                                                                                                       Our institution has the leadership, the will, and the desire to continue to examine
        Keyes and Freeman Hrabowski. The advisory board should be convened by
                                                                                                       and address the needs of our students with evidence-based         approaches and
        the co-conveners of the Workgroup. Following the delivery of this report and
        the consideration of its recommendations, the co-conveners should engage a                     promising practices.

        process of identifying advisory board prospects for review.
           (2) Engage a URM male strategic planning effort.           A strategic planning
        process should be engaged in the near future for the Minority Male Initiative.
           (3) Task Diversity and Multicultural Affairs with coordinating, managing
        and monitoring URM male progress. The Workgroups recommendations are
        extensive enough to require coordination and management by this office to
        monitor the progress on the recommendations in the four focus areas. Given the
        role and evidence-based URMmale efforts currently underway in the Diversity and
        Multicultural Affairs, the professional staffing in the Office should be increased
        to serve as the coordinating unit for these effo1ts.
           (4) Assess and measure URM male progress In the established focus areas
        and additional areas of interest. Develop an assessment tool to measure the
        activities of each of the four focus areas.
           (5) Assign and promote accountabllltyfor each of the four focus areas. While
        accountability for the four focus areas will be jointly assigned , as appropriate,
        UNC should further cultivate an institutional culture of shared responsibility for
        inclusive excellence and the success of all students.




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        between pupils and instructors. Journal of Socia! Issues, 60, 157 • 174 .


        Cabrera, A. F., & La Nasa, S. M. (2001). On the path to coliege: Three critical tasks facing America's
        disadvantaged . Research in Higher Education, 42, 119-1 SO.
                                                                                                                                                                                             from establishing a sense cf belonging;' as well as
                                                                                                                                    - contexts, actions,
        Chiang, L., Hunter, C. D., & Yeh, C. J. (2004). Coping attitudes, sources, and practices among Black and                                                                             the compositional structure of)he                campus leaders
                                                                                                                             and outcomes - can be                                           (Wood & Palmer, 2015i.
        Latino college students. Adolescence. 39 1 793 - 815.
                                                                                                                             understood in this manner:                                           Climates: Campus dimi:!te is the "day-to-day

        Cuyjet, M. J . (2006). African-American men in college. San Francisco, CA: Jessey -Bass.                                                                                             dispositions ... thlnking,      and    seif.•perceptions        held
                                                                                                                                                                                             within the college o; univers1ty"- the "institutional

        Demetriou, C. & Powell, C. (2011, November). Understanding minority male persistence and                             Context:             Context focuses on the "institution's      psyche" (Wood & Palmer, 2015).
        encouraging student success. Poster presented at the National Symposium on                                           inputs" including the institution's history, revenue,                Partnerships:           institl.ltions         should      form

        Student Retention, Charleston, SC. Poster retrieved from:                                                            location, size, and type (Wood & Palmer, 2015).                 partnership<      with       PreK-12          ir,stitutions,     with
        http:/ /studentsuccess.unc.edu/files/2012/08/NSSR-poster-11X17     .pdf.                                                                                                             community      coileges from which many URM males

                                                                                                                             Actions: Inthe CAO mode!, "institutional actions                transfer to four-year schools, and with industry
        Harper, S. & Harris, F. (Eds.). (2010). College men and masculinities : Theory,                                      and ethos shape the experlentla! realities within               (Wood & Palmer, 2015).
        research and implications for practice. San Francisco, CA: Jossey•Bass.                                              the institution" (Wood & Palmer, 2015). Although                     Inquiry : Institutions must be committed                      to
                                                                                                                             stlJdents come to an institution from a variety of              inquiry, that is, to self-examination. "[O]rganizat1ons,

        Smith, D. {2009) Diversity's promise for higher education: Making it work. Baltimore,                                backgrounds, the institution has the responsibility             just as individuals, can learn and change over time"

        Md: Johns Hopkins University Press.                                                                                  to meet students "where they are" (Wood & Palmer,               (Wood & Palmer, 2015).
                                                                                                                             2015). The CAO model provides eight key domains
        UNC Enrollment Polley Advisory Committee. (2010 - 2011) . Encouraging student success                                for action :                                                    Outcomes:                All eight of the prior domains
        at Carolina: The undergraduate retention study. Retrieved from                                                            Programs:        Programming     needed    to prov:de      of institutional responsibi!ity share the same goal :
        llttp:/ /studentsuccess. u nc.edu/news/.                                                                             "access to networks (sodal '-'.apital)and understanding         "student success " (Wood & Palmer, 2015). Under
                                                                                                                             of the spokef'! and unspoken structures of academe              the CAO approach, institutions of higher learning
        UNC Enrollment Polley Advisory Committee.       (2004). Promoting success for Carolina's                             (cuitural capital) (Wood & Palmer, 2015).                       must     "assume     responsibility           for    the     students
        undergraduates: Factors related to retention and graduation . Retrieved from                                              Policies : Polices should focus on "resource               that are enrolled in their {nsbtutions'' and "[take]
        http://studentsuccess.unc.edu/news/.                                                                                 equity" (Wood & Palmer, 2015).                                  ownership of [each] student's affective development,
                                                                                                                                  Practice&:Practices include both "fcrmai and               cognitive development , and academic performance
        Wood, J. & Palmer, R. (2015). Black men in higher education: A guide to ensuring student                             informal    operations on campus" (Wood & Palmer,               outcomes." (Wood & Pa'mer, 2015)
        success. New York & London: Routledge.                                                                               2015).
                                                                                                                                   Re&ources: Often, programs for URM male
                                                                                                                             students       are    "chronkally   under-resourced       and
                                                                                                                             therefore cannot impact student success" (Wood &.
                                                                                                                              Palmer, 2015).
                                                                                                                                   Structures : Structures       indude     the   physical
                                                                                                                              institutional   structure   that can "prevent       students


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                        Fac.llimtethe              Dfflg" and imp!am1mt    Launching Fall 2015     Carolina M.A.L.E.S.
                        part icipation of          programs far man
                        diverse male s In          of color including:     F~cuity munto r'1ng     UNC RISE
                        high-impact activiti es    Monthly Networking
                        (o.g., study •broad        Events ; P•n Lineag e   Coaching groL1ps        Building Bonds
                        and undergraduat •         Group s; FirJt Year
                        research)                  stL1derrt retreat                               Breaking B.A.R.S.

                        Al:sist program            Host onlln• portal:                             National Pan-Hellenic
                        participants 1nforming     m•nofcolor.web.unc.                             Council Fraternlt iH
                        connections through        edu
                        work 1:hop1, faculty                                                       Greek Alliam::eCouncil
                        and Raff, Carolina                                                         Frat er nities
                        alumni, and community
                        memb ersj

                        Provide profesa1ona ~
                        academic. social, and
                        cultural dllf-velopm vnt




                        2-year program for         Varies                  Op11nto ell URM males
                        first and second year                              Varies
                        studenU; cohort •bat ed




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